1    VANESSA L. WILLIAMS, ESQ.
     LAW OFFICE OF VANESSA L. WILLIAMS, P.C.
2    414 WEST SOLEDAD AVENUE
     GCIC BLDG., SUITE 500
     HAGÅTÑA, GUAM 96910
3    TELEPHONE: (671) 477-1389
     EMAIL: vlw@vlwilliamslaw.com
4
     ALEXA KOLBI-MOLINAS*
5    MEAGAN BURROWS*
     RACHEL REEVES*
6
     AMERICAN CIVIL LIBERTIES UNION FOUNDATION
     125 BROAD STREET, 18TH FLOOR
     NEW YORK, NY 10004
7    TEL: (212) 549-2633
     EMAIL: akolbi-molinas@aclu.org
8
     * Application for admission pro hac vice granted
9
     Attorneys for Plaintiffs
10                                         THE DISTRICT COURT OF GUAM
11   SHANDHINI RAIDOO, et al.,                                      )   CIVIL CASE NO. 21-00009
                                                                    )
12                                                                  )
                             Plaintiffs,                            )
                                                                    )   ORDER RE PLAINTIFFS’ MOTION
13
                                  vs.                               )   FOR A PRELIMINARY INJUNCTION
                                                                    )   PURSUANT TO FED. R. CIV. P. 65(a)
14
     LEEVIN TAITANO CAMACHO, et al.,                                )
                                                                    )
15                                                                  )
                            Defendants.                             )
16                                                                  )

17
               The court has considered Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 12)
18
     and related briefing, and further pleadings and argument submitted in support of their motion1;
19
     1
       Plaintiffs originally sought preliminary injunctive relief against 9 G.C.A. § 31.20(b)(2), as well, to the extent that
20   provision required a Guam-licensed physician to be in the physical presence of a patient when they prescribe,
     dispense, and/or otherwise provide medication abortion to patients in Guam. On March 5, 2021, this court entered an
21   Order on the Parties’ Joint Stipulation and Motion for Entry of Order of Settlement and Partial Dismissal of Claims
     (ECF No. 27), dismissing Count I; Count II, Paragraphs 219-21; and Count III, Paragraphs 225-26 of the Complaint
22   (ECF No. 1) on the conditions set forth in the Parties’ Joint Stipulation and Motion (ECF No. 26), including inter
     alia, that Section 31.20 does not prohibit the prescription, dispensing, delivery, and/or receipt of abortion medication
23   outside a qualified physician’s adequately equipped medical clinic and that the Attorney General of Guam, in his
     official capacity, and the members of the Guam Board of Medical Examiners, in their official capacities, have no
     legal basis to prosecute or take disciplinary action against a Guam-licensed physician under 9 G.C.A. § 31.20 or
24   31.21 for prescribing or dispensing either of the medications used in a medication abortion outside the physical
     presence of the patient (e.g., through the use of a direct-to-patient telemedicine program), or to otherwise require the
     administration of either of the medication used in a medication abortion in a clinical setting.

     Raidoo v. Camacho; Case No. 21-00009
     Order re Plaintiffs’ Motion for a Preliminary Injunction Pursuant to Fed. R. Civ. P. 65(a)                  Page 1 of 3

                      Case 1:21-cv-00009 Document 44 Filed 09/07/21 Page 1 of 3
1    the U.S. Magistrate Judge’s Report and Recommendation on Plaintiffs’ Motion for Preliminary

2    Injunction (ECF No. 32); and Plaintiffs’ Objections to the Report and Recommendation (ECF No.

3    33) and related briefing and argument. The Court has concluded that Plaintiffs meet the

4    requirements for preliminary injunctive relief, as the record demonstrates that Plaintiffs are likely

5    to succeed on the merits of their claims that 10 G.C.A. § 3218.1 is unconstitutional as applied to

6    the use of telemedicine to provide medication abortion to patients in Guam; that Plaintiffs and

7    their patients will suffer irreparable harm if Defendants are not enjoined from enforcing 10 G.C.A.

8    § 3218.1 as applied to the use of telemedicine to provide medication abortion to patients in Guam;

9    and that Defendants will not be harmed if such an order is issued and the public interest favors

10   the entry of such an order.

11             It is therefore ORDERED that Plaintiffs’ motion for a preliminary injunction is hereby

12   GRANTED; and the Defendants (along with their respective successors in office, officers,

13   agents, servants, employees, attorneys and anyone acting in concert or participation with them)

14   are hereby enjoined from enforcing, via criminal and/or licensure penalties as provided by statute:

15                 10 G.C.A. § 3218.1(b) to require a patient obtaining medication abortion via

16                  telemedicine to receive the information required under that statute in person; and

17                 10 G.C.A § 3218.1(b)(4)’s individual, private setting requirement to prevent a patient

18                  obtaining a medication abortion via telemedicine from receiving the information

19                  required under that statute while located in the setting of the patient’s choosing,

20                  including with another person (or persons) present if the patient chooses. Nothing in

21                  this Order shall be construed to permit physicians or qualified persons under 10 G.C.A.

22                  § 3218.1 to provide the required information under that statute to more than one patient

23                  at a time.

24




     Raidoo v. Camacho; Case No. 21-00009
     Order re Plaintiffs’ Motion for a Preliminary Injunction Pursuant to Fed. R. Civ. P. 65(a)    Page 2 of 3

                      Case 1:21-cv-00009 Document 44 Filed 09/07/21 Page 2 of 3
1              It is further ORDERED that Defendants shall immediately notify all of their officers,

2    agents, servants, employees, and anyone responsible for the enforcement of 10 G.C.A. § 3218.1,

3    about the existence and requirements of this preliminary injunction.

4              It is further ORDERED that this Order shall remain in effect until further order of the

5    court.

6              SO ORDERED.

7
                                                                     /s/ Frances M. Tydingco-Gatewood
                                                                         Chief Judge
8
                                                                     Dated: Sep 07, 2021
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24




     Raidoo v. Camacho; Case No. 21-00009
     Order re Plaintiffs’ Motion for a Preliminary Injunction Pursuant to Fed. R. Civ. P. 65(a)         Page 3 of 3

                      Case 1:21-cv-00009 Document 44 Filed 09/07/21 Page 3 of 3
